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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Dawn Curtis,                              )
                                          )
         Plaintiff,                       )
                                          )
         v.                               )       No.    11 C 3513
                                          )
Mercantile Adjustment Bureau, LLC, a )
New York limited liability company,       )
Razor Capital, LLC, a Minnesota limited )
liability company, Razor Capital II, LLC, )
a Minnesota limited liability company     )
and Frederick J. Hanna & Associates, )
P.C., a Georgia professional              )
corporation,                              )
                                          )
         Defendants.                      )       Jury Demanded

                                        COMPLAINT

       Plaintiff, Dawn Curtis, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt collection

actions violated the FDCPA, and to recover damages for Defendants’ violations of the

FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) most of the acts and

transactions occurred here; and b) Defendants transact business here.

                                          PARTIES

       3.      Plaintiff, Dawn Curtis ("Curtis"), is a citizen of the State of Nebraska from

whom Defendants attempted to collect a delinquent consumer debt owed for a Credit
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One Bank credit card, despite the fact that she was represented by the legal aid

attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.

       4.     Defendant, Mercantile Adjustment Bureau, LLC (“Mercantile”), is a New

York limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, directly or indirectly, delinquent consumer debts. Mercantile collects

delinquent debts from consumers in virtually every state, including consumers in the

State of Illinois. Mercantile was acting as a debt collector as to the delinquent

consumer debt it was trying to collect from Ms. Curtis.

       5.     Defendant, Razor Capital, LLC (“Razor One”), is a Minnesota limited

liability company that acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. Razor One operates a nationwide delinquent debt

collection business and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois. Razor One was acting as a debt

collector as to the delinquent consumer debt it was trying to collect from Ms. Curtis.

       6.     Defendant, Razor Capital II, LLC (“Razor Two”), is a Minnesota limited

liability company that acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. Razor Two operates a nationwide delinquent debt

collection business and attempts to collect debts from consumers in virtually every




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state, including consumers in the State of Illinois. Razor Two was acting as a debt

collector as to the delinquent consumer debt it was trying to collect from Ms. Curtis.

       7.      Defendant Razor One and Razor Two are debt scavengers, and sister

corporations, that specialize in buying large portfolios of defaulted consumer debts for

pennies on the dollar, the full amount of which debts it then tries to collect through other

debt collectors, like Defendants Mercantile and Hanna.

       8.      Defendant, Frederick J. Hanna & Associates, P.C. (“Hanna”), is a Georgia

professional corporation that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, directly or indirectly, delinquent consumer debts. Hanna collects delinquent

debts from consumers in virtually every state, including consumers in the State of

Illinois. Hanna was acting as a debt collector as to the delinquent consumer debt it was

trying to collect from Ms. Curtis.

       9.      Defendants Mercantile, Razor One and Razor Two are authorized to

conduct business in Illinois and maintain registered agents here, see, records from the

Illinois Secretary of State, attached as Group Exhibit A. In fact, all Defendants conduct

business in Illinois.

       10.     Moreover, Defendants Mercantile and Razor One are licensed as

collection agencies in Illinois, see, records from the Illinois Division of Professional

Regulation, attached as Group Exhibit B. In fact, Defendants Mercantile, Razor One

and Razor Two each act as a collection agency in Illinois.




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                                FACTUAL ALLEGATIONS

       11.      Ms. Curtis is a disabled woman, with limited assets and income, who fell

behind on paying her bills, including a consumer debt she owed for a Credit One Bank

credit card. At some point in time after that debt became delinquent, it was bought by

either Defendant Razor One or Razor Two, and when they began trying to collect this

debt from Ms. Curtis, she sought the assistance of the legal aid attorneys at the

Chicago Legal Clinic’s LASPD program, regarding her financial difficulties and

Defendants’ collection actions.

       12.      Specifically, Defendant Razor One hired Defendant Mercantile, to demand

payment of the Credit One Bank credit card debt from Ms. Curtis and on October 11,

2010, sent Ms. Curtis a collection letter. Moreover, this collection letter stated that

Razor Capital, LLC was the current creditor of the debt. A copy of this letter is attached

as Exhibit C.

       13.      Accordingly, on December 29, 2010, one of Ms. Curtis’ attorneys at

LASPD informed Defendant Razor One, through its agent, Mercantile, that Ms. Curtis

was represented by counsel, and directed Razor One to cease contacting her, and to

cease all further collection activities because Ms. Curtis was forced, by her financial

circumstances, to refuse to pay her unsecured debt. Copies of this letter and fax

confirmation are attached as Exhibit D.

       14.      Undeterred, Defendant Razor Two then had Defendant Hanna send Ms.

Curtis a collection letter, dated March 25, 2011, which demanded payment of the Credit

One Bank credit card debt. Moreover, this collection letter stated that the current




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creditor was Razor Capital II, LLC. A copy of this collection letter is attached as Exhibit

E.

       15.    Accordingly, on April 29, 2011, Ms. Curtis’ LASPD attorney sent

Defendants a letter, directing them to cease communications and to cease collections.

Copies of this letter and fax confirmation are attached as Exhibit F.

       16.    All of Defendants’ collection actions complained of herein occurred within

one year of the date of this Complaint.

       17.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                              Violation Of § 1692g(a)(2)
                 Failure To Identify Effectively The Current Creditor

       18.    Plaintiff adopts and realleges ¶¶ 1-17.

       19.    Section 1692g of the FDCPA requires that, within 5 days of Defendants'

first communication to a consumer, it must provide consumers with an effective

validation notice, containing, among other disclosures, “(2) the name of the creditor to

whom the debt is owed;”, see, 15 U.S.C. § 1692g(a)(2).

       20.    Defendants' form collection letters leaves anyone, let alone the

unsophisticated consumer, with no idea as to who was the creditor actually is, Razor

Capital, II, LLC or Razor Capital, LLC. Defendants' form collection letters, thus violates

§ 1692g(2) of the FDCPA.

       21.    Defendants' violation of § 1692g of the FDCPA renders them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.



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                                       COUNT II
                        Violation Of § 1692e Of The FDCPA --
                              Making False Statements

      22.    Plaintiff adopts and realleges ¶¶ 1-17.

      23.    Section 1692e of the FDCPA prohibits Defendants from making any false,

deceptive or misleading statements in connection with the collection of any debt, see,

15 U.S.C. § 1692e.

      24.    Defendants' form collection letters, referencing two different entities as the

possible creditor, without any explanation of the relationship, if any, between them, was

false, deceptive or misleading, in violation of § 1692e of the FDCPA.

      25.    Defendants’ violations of § 1692e of the FDCPA render them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                       COUNT III
                       Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And To Cease Collections

      26.    Plaintiff adopts and realleges ¶¶ 1-17.

      27.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      28.    Here, the letters from Ms. Curtis’ agent, LASPD, told Defendants to cease

communications and to cease collections. By continuing to communicate regarding this

debt and demanding payment, Defendants violated § 1692c(c) of the FDCPA.

      29.    Defendants’ violation of § 1692c(c) of the FDCPA renders them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.



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                                   COUNT IV
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      30.    Plaintiff adopts and realleges ¶¶ 1-17.

      31.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      32.    Defendants knew, or readily could have known, that Ms. Curtis was

represented by counsel in connection with her debts because her attorneys at LASPD

had informed Defendants, in writing, through its agents, that Ms. Curtis was represented

by counsel, and had directed a cessation of communications with Ms. Curtis. By

directly sending Ms. Curtis a collection letter, despite being advised that she was

represented by counsel, Defendants violated § 1692c(a)(2) of the FDCPA.

      33.    Defendants’ violation of § 1692c(a)(2) of the FDCPA renders them liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Dawn Curtis, prays that this Court:

      1.     Find that Defendants’ debt collection actions violated the FDCPA;

      2.     Enter judgment in favor of Plaintiff Curtis, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a) of

the FDCPA; and,

      3.     Grant such further relief as deemed just.




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                                      JURY DEMAND

       Plaintiff, Dawn Curtis, demands trial by jury.

                                                     Dawn Curtis,

                                                     By: /s/ David J. Philipps_______
                                                     One of Plaintiff's Attorneys

Dated: May 25, 2011

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